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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

               Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/
                                            ORDER

                                                                                     for Modified

Permission to Travel [Dkt. # 354], the motion is GRANTED.

       It is ORDERED that the defendant may stay overnight in Cleveland, Ohio, on March

10, 2020. Defendant shall provide Pretrial Services with a copy of this Order and his

specific travel itinerary for the trip prior to his departure from the Northern District of Ohio.

Defendant may not travel to any location aside from that set out above and must contact Pretrial

Services within the first business day by telephone upon his return.

       SO ORDERED.




                                                           AMY BERMAN JACKSON
Date: March 9, 2020                                        United States District Judge
